                                   Case 19-30269-lkg                Doc 1       Filed 03/07/19            Page 1 of 33

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Treasure Isles, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  378 Point of View Drive
                                  Edwardsville, IL 62025
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Madison                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 19-30269-lkg               Doc 1         Filed 03/07/19              Page 2 of 33
Debtor    Treasure Isles, Inc.                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                    Case 19-30269-lkg                Doc 1         Filed 03/07/19            Page 3 of 33
Debtor   Treasure Isles, Inc.                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                   Case 19-30269-lkg                 Doc 1        Filed 03/07/19              Page 4 of 33
Debtor    Treasure Isles, Inc.                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 7, 2019
                                                  MM / DD / YYYY


                             X   /s/ James E. McCann, Sr.                                                 James E. McCann, Sr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X   /s/ Steven M. Wallace                                                     Date March 7, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Steven M. Wallace
                                 Printed name

                                 HeplerBroom, LLC
                                 Firm name

                                 130 North Main Street
                                 Edwardsville, IL 62025
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (618) 656-0184                Email address      steven.wallace@heplerbroom.com

                                 06198917 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:
 Debtor name Treasure Isles, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 A & W Restaurants,                                              Business expense                                                                                           $5,970.37
 Inc.
 1441 Gardiner Lane
 Louisville, KY 40205
 ARC CAFEUSA001,                                                 Business expense                                                                                     $1,918,362.78
 LLC
 c/o VEREIT, Inc.
 2325 E. Camelback
 Road, Suite 1100
 Phoenix, AZ 85016
 Capital City Trust                                              Business expense                                                                                           $5,530.00
 c/o Mid America
 Asset Mgmt Inc.
 One Parkview Plaza,
 9th Floor
 Villa Park, IL 60181
 Castle Holdings,                                                Business Expense                                                                                         $16,809.24
 LLC
 c/o Creighton Castle
 4305 Turtle Bay
 Springfield, IL 62711
 CDP Properties LLC                                              Business expense                                                                                           $5,266.39
 1307 W. Main St.
 Salem, IL 62881
 Citadel Capital                                                 Business expense                                                                                           $4,400.00
 c/o Wells Fargo
 Bank
 Duane Morrie LLP                                                Business expense                                                                                       $188,480.95
 30 S. 17th Street
 Philadelphia, PA
 19103-4196
 Frank D. Cain                                                   Stock Redemption                                                                                     $4,000,000.00
 520 North Main St.
 Somerset, KY
 42501-1434




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Treasure Isles, Inc.                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 GM Crossroads                                                   Business expense                                                                                         $14,957.81
 Center, LLC
 Attn: Ms. Michelle
 Wu
 P.O. Box 410842
 Saint Louis, MO
 63141-0842
 Infinite 50 LLC                                                 Business expense                                                                                           $4,803.42
 211 Main Street
 San Francisco, CA
 94105
 Jefferson County                                                Business expense                                                                                         $11,286.30
 Collector
 P.O. Box 787
 Mount Vernon, IL
 62864-0016
 JRJ Crossing, LLC                                               Business expense                                                                                           $6,326.25
 1109 Wheaton Hill
 Court
 Saint Louis, MO
 63131
 Long John Silver's                                              Business expense                                                                                     $1,265,819.09
 Advertising
 P.O. Box 950106
 Louisville, KY
 40295-0106
 Long John Silver's,                                             Business expense                                                                                     $1,405,829.80
 LLC
 P.O. Box 950111
 Louisville, KY
 40295-0111
 Madison County                                                  Business expense                                                                                           $8,088.87
 Treasurer
 Kurt Prenzler, CPA
 PO Box 849
 Edwardsville, IL
 62025
 Mansfield Power &                                               Business expense                                                                                         $17,029.75
 Gas
 1025 Airport
 Parkway
 Gainesville, GA
 30501
 McLane Food                                                     Business expense                                                                                       $134,421.19
 Service, Inc.
 7188 Collection
 Center Dr.
 Chicago, IL 60693
 NAC Advertising                                                 Business expense                                                                                           $4,776.30
 Lockbox 3585
 Reliable Parkway
 Chicago, IL 60686


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Treasure Isles, Inc.                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Vermillion County                                               Business expense                                                                                         $14,270.71
 Treasurer
 PO Box 730
 Danville, IL 61834
 Weeke Sales &                                                   Business expense                                                                                           $9,674.25
 Service, Inc.
 501 N. Front St.
 P.O. Box 53
 Okawville, IL 62271




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Southern District of Illinois
 In re      Treasure Isles, Inc.                                                                          Case No.
                                                                                  Debtor(s)               Chapter     11




                                                        VERIFICATION OF CREDITOR MATRIX



                        I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby

            verify that the attached list of creditors is true and correct to the best of my knowledge and that it

            corresponds to the creditors listed in our schedules.




 Date:       March 7, 2019                                             /s/ James E. McCann, Sr.
                                                                       James E. McCann, Sr./Chief Executive Officer
                                                                       Signer/Title




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            A & W Restaurants, Inc.
            1441 Gardiner Lane
            Louisville, KY 40205


            A Royal Flush Plumbing Co.
            P.O. Box 391
            Edwardsville, IL 62025


            A-1 Corporate Hardware
            101 N. 4th Street
            Springfield, IL 62701


            ABT SRBI Inc.
            P.O. Box 846134
            Boston, MA 02284-6134


            Ace Grease Service
            9035 State Route 163
            Millstadt, IL 62260


            Ace Grease Service
            9035 IL-163
            Millstadt, IL 62260


            Ace Sign Company
            2540 S. 1st St.
            Springfield, IL 62701


            ACS II Fairview Park Plaza IL, LLC
            350 Pine Street
            Suite 800
            Beaumont, TX 77701


            Advanced Vending Services
            10685 State Route 29 East
            Rochester, IL 62563


            Advantage+
            13400 Bishop's Lane, Suite 280
            Brookfield, WI 53005


            Air Filter Sales & Services
            210 33rd St., Dr S.E.
            Cedar Rapids, IA 52403
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        Aire Serv Heating & Air
        P.O. Box 168
        Jacksonville, IL 62650


        Aire-Master of America
        P.O. Box 802615
        Chicago, IL 60680


        Airgas-Mid America
        P.O. Box 802615
        Chicago, IL 60680-2615


        Albert Brothers, Inc.
        921 N. Kickapoo St.
        Lincoln, IL 62656


        All American HVAC
        207 N. State Street
        Litchfield, IL 62056


        All American Plumbing & Heating
        1731 Mound Road
        Jacksonville, IL 62650


        Alliance Cost Containment, LLC
        10503 Timberwood Circle, #120
        Louisville, KY 40223


        Allied Waste Service
        4601 Cahokia Creek Road
        Edwardsville, IL 62025


        Amateur Sports Promotion
        P.O. Box 712
        Quincy, IL 62306


        Ameren CILCO
        P.O. Box 66826
        Saint Louis, MO 63166-6826


        Ameren CIPS
        P. O. Box 66878
        Saint Louis, MO 63166-6878
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        Ameren Illinois
        PO Box 88034
        Chicago, IL 60680


        Angela J.M. Laws
        #26 Country View
        Centralia, IL 62801


        Aqua Illinois
        P.O. Box 298
        Struthers, OH 44471-0298


        Aramark
        PO Box 0903
        Carol Stream, IL 60132-0903


        ARC CAFEUSA001, LLC
        c/o VEREIT, Inc.
        2325 E. Camelback Road, Suite 1100
        Phoenix, AZ 85016


        ARC CAFEUSA001, LLC
        c/o VEREIT, Inc.
        Attn: Asset Manager
        2325 E. Camelback Rd., Suite 1100
        Phoenix, AZ 85016


        ARC CAFEUSA001, LLC
        c/o VEREIT, Inc.
        Attn: Asset Manager
        2325 E. Camelback Road, Suite 1100
        Phoenix, AZ 85016


        ARC CAFEUSA001, LLC
        c/o Lisa Peters
        Kutak Rock LLP
        1650 Farnam Street
        Omaha, NE 68102


        Area Disposal Service, Inc.
        32289 Collection Center Dr.
        Chicago, IL 60693


        Area Wide, Inc.
        6115 Eveline St.
        Saint Louis, MO 63139
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        Arrow Signs & Outdoor Advertising
        P.O. Box 163
        Godfrey, IL 62035


        ASCAP
        21678 Network Place
        Chicago, IL 60673-1216


        Asset Enterprises
        3431 N. Industrial Dr.
        Simpsonville, SC 29681


        AT&T
        PO Box 5080
        Carol Stream, IL 60197-5080


        At&T (8080)
        P.O. Box 5095
        Carol Stream, IL 60197-5095


        Avenue Glass & Repair
        200 N. Grand Ave. East
        Springfield, IL 62702


        Bailen Partners I, Ltd.
        Frank G. Bailen, Gen Partner
        1701 Broadmoor Drive, Suite 220
        Champaign, IL 61821


        Baker & Sons Plumbing
        1701 E Main
        Marion, IL 62959


        Becky Grothoff
        3115 Lime Ave.
        Mount Vernon, IL 62864


        Bendsen Signs & Graphics
        2901 N. Woodford St.
        Decatur, IL 62526


        Beverly J. McBride
        Wabash County Treasurer
        P.O. Box 428
        Mount Carmel, IL 62863
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        Binder Plumbing & Heating, Inc.
        1975 E. Pershing Rd
        Decatur, IL 62526


        BR Associates, Inc.
        c/o Mr. Bob Ruckriegel
        4201-A Mannheim Road
        Jasper, IN 47546-9618


        Brad Crick Refridgeration
        930 Big Ridge Road
        Harrisburg, IL 62946


        Business Systems Cash Registers
        1812 Vandalia St.
        Collinsville, IL 62234


        Business Technologies
        3350 Center Grove Drive
        Dubuque, IA 52003-5225


        Buster Sanitation Service
        P.O. Box 805935
        Chicago, IL 60680-4120


        Butcher's Electrical Service, Inc.
        P.O. Box 1218
        Mahomet, IL 61853


        Capital City Trust
        c/o Mid America Asset Mgmt Inc.
        One Parkview Plaza, 9th Floor
        Villa Park, IL 60181


        Capital City Trust
        Capital City Shopping Center
        4270 Morse Road
        Columbus, OH 43230


        Carol Becherer
        305 Park Ave.
        Lincoln, IL 62656
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        Caseyville Township Water
        P.O. Box 1900
        Fairview Heights, IL 62208


        Castle Holdings, LLC
        c/o Creighton Castle
        4305 Turtle Bay
        Springfield, IL 62711


        CDP Properties LLC
        1307 W. Main St.
        Salem, IL 62881


        Charles Daniels Properties, Inc.
        1355 N. Route 48, Suite 6
        Decatur, IL 62526


        Cintas LOC #D72
        401 W. Industrial Dr.
        Carbondale, IL 62901


        Cintas LOC D#65
        634 Lamber Pointe Dr.
        Hazelwood, MO 63042


        Citadel Capital
        c/o Wells Fargo Bank


        City of Bloomington
        PO Box 3157
        Bloomington, IL 61702


        City of Centralia
        P.O. Box 569
        Centralia, IL 62801


        City of Collinsville
        125 S. Center St.
        Collinsville, IL 62234


        City of Danville
        17 W. Main
        Danville, IL 61832
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        City of Decatur
        1 Gary K Anderson Plaza
        Decatur, IL 62523


        City of Effingham Water District
        P.O. Box 1345
        Effingham, IL 62401


        City of Granite City Treasurer
        Regions Bank-Dept 30485
        Saint Louis, MO 63179-0126


        City of Harrisburg
        110 E. Locust
        Harrisburg, IL 62946


        City of Litchfield
        120 E. Ryder
        Litchfield, IL 62056


        City of Marion
        1102 Tower Square
        Marion, IL 62959


        City of Mattoon Finance Dept.
        208 N. 19th St.
        P.O. Box 99
        Mattoon, IL 61938


        City of Mt Carmel
        219 Market St.
        Mount Carmel, IL 62863


        City of Mt. Vernon
        P.O. Box 1708
        Mount Vernon, IL 62864


        City of Salem
        101 S. Broadway
        Salem, IL 62881


        City of Vandalia
        431 W. Gallatin
        Vandalia, IL 62471
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        City of Wood River
        111 N. Wood River Ave.
        Wood River, IL 62095


        City Water Light & Power
        Cashier's Office
        Municipal Center West
        Springfield, IL 62757-0001


        Cleeton Sanitation Service
        P.O. Box 50
        Tovey, IL 62570


        Clock Tower Owners Assoc.
        974 Clock Tower Drive
        Springfield, IL 62704


        Comcast Cable Communications Mngmnt
        Attn: Legal Dept.
        1701 JFK Blvd.
        Philadelphia, PA 19103


        Commercial Electronics In
        3421 Hollenberg Drive
        Bridgeton, MO 63044


        Commercial Landscape Services
        132 Ridge Prairie Lane
        Fairview Heights, IL 62208


        Complete HVAC Plumbing
        210 E. Elm
        Albion, IL 62806


        Consolidated Communications
        PO Box 2564
        Decatur, IL 62525


        Constellation
        14217 Collections Center Drive
        Chicago, IL 60693


        Cooley's Heating & Plumbing
        PO Box 388
        Decatur, IL 62525-2564
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        Crosscreek Design Group
        1145 Winter Haven Way
        Lexington, KY 40509-2051


        CSA, Inc.
        36555 Biltmore PLace
        Willoughby, OH 44094


        CSTK
        420 E. Carrie Ave.
        Saint Louis, MO 63147


        CWI
        829 Burnett St.
        Paducah, KY 42001


        CWI of Illinois #732
        P.O. Box 9001099
        Louisville, KY 40290


        Daily Republic Register
        PO Box 550
        Mount Carmel, IL 62863


        Dale Plumbing, Heating & Cooling
        4898 Wildwood Lane
        Brighton, IL 62012


        Dan Heise Plumbing & Heating
        P.O. Box 105
        Litchfield, IL 62056


        Daniel & Sons Mechanical Contractor
        PO Box 126
        Carterville, IL 62918


        Danville Sanitary District
        PO Box 81
        Danville, IL 61834


        Deborah N. Roth
        813 W. 5th STreet
        Bluford, IL 62814
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        Direct Energy Business
        194 Wood Avenue South
        Second Floor
        Iselin, NJ 08830


        Doty Sanitation Service
        RR2 Box 264
        Beecher City, IL 62414


        Double D Plumbing & Heating
        1115 N. Fifth Street
        Vandalia, IL 62471


        Dr. Pepper Snapple Group
        5301 Legacy Drive
        Plano, TX 75024-3109


        Duane Morrie LLP
        30 S. 17th Street
        Philadelphia, PA 19103-4196


        Dust Electric
        1105 N. Merchant Str.
        Effingham, IL 62401


        Ecolab Food Safety Specialities
        24198 Network Place
        Chicago, IL 60673-1241


        Ed Daniels Plumbing
        5040 Lois Lane
        Kell, IL 62853


        Effingham County Health Dept.
        901 W. Virginia
        P.O. Box 685
        Effingham, IL 62401


        Effingham Signs & Graphics, Inc.
        1009 S. Oak St.
        Effingham, IL 62401


        Electrical Service Company
        P.O. Box 976
        Decatur, IL 62525
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        Fairview Station, LLC
        NW 601202
        P.O. Box 1450
        Minneapolis, MN 55485-1202


        Fire Equipment Service
        2401 S. 14th Street
        Mattoon, IL 61938


        First Southwestern Financial Servic
        P. O. Box 0487
        Roy, UT 84067


        Fowler Heating & Cooling
        P.O. Box 909
        Marion, IL 62959


        Frank D. Cain
        520 North Main St.
        Somerset, KY 42501-1434


        Frank Haas
        c/o Sid's Building Corp.
        35188 N. Thompson
        Round Lake, IL 60073


        Fred's Plumbing, Heating & Air
        5018 Chester Grove Dr.
        Champaign, IL 61822


        GE Capital Franchise Finance Corp.
        8377 E. Hartford Drive, Suite 200
        Scottsdale, AZ 85255


        Geno's 24/7
        P.O. Box 234
        Mattoon, IL 61938


        Gibson Products Company
        1100 Organ Street
        Eldorado, IL 62930
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        GM Crossroads Center, LLC
        Attn: Ms. Michelle Wu
        P.O. Box 410842
        Saint Louis, MO 63141-0842


        GM Crossroads, LLC
        Attn: Ms. Judy Mei
        131 N. Mosley
        Saint Louis, MO 63141


        Great America Leasing Corp.
        8742 Innovation Way
        Chicago, IL 60682-0087


        Greco Sales, Inc.
        P.O. Box 4226
        Springfield, IL 62708


        Greg Hahn Heating & A/C
        3090 Timber Bluff Trail
        Decatur, IL 62521


        HM Electronics, Inc.
        14110 Stowe Dr.
        Poway, CA 92064


        Hobart Service
        206 Fabricator Drive
        Fenton, MO 63026


        Homefield Energy
        1500 Eastport Plaza Drive
        Collinsville, IL 62234


        Howard's Disposal, Inc.
        2822 N. County Road
        Mattoon, IL 61938


        Hughes Network Systems
        P.O. Box 64136
        Baltimore, MD 21264


        IBM Corporation
        P.O. Box 534151
        Atlanta, GA 30353-4151
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        Ideal Refrigeration
        P.O. Box 268
        325 St Hwy 121
        Mt Zion, IL 62549


        Illinois - American Water
        PO Box 94551
        Palatine, IL 60094-4551


        Infinite 50 LLC
        211 Main Street
        San Francisco, CA 94105


        Interface
        2690 Kirby Whitten Rd, Suite 101
        Memphis, TN 38133


        Isaacs Refridgeration Co.
        1217 Farmingdale Road
        Pleasant Plains, IL 62677


        Jacksonville Journal-Courier
        Attn: Business Office
        P.O. Box 1048
        Jacksonville, IL 62651-1048


        James E. McCann, Sr.
        378 Point of View Drive
        Edwardsville, IL 62025


        James E. Simmons
        15148 N. Loop Lane
        Mount Vernon, IL 62864


        James Theilken
        3209 Rita
        Springfield, IL 62703


        Jefferson County Collector
        P.O. Box 787
        Mount Vernon, IL 62864-0016


        Jessica Hall
        11501 N. Lake Dr.
        Cincinnati, OH 45249
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        JJ Properties, LLC
        997 Terra Oaks Dr.
        Chesterfield, MO 63005


        Johnson Controls Fire Protection LP
        Dept. CH 10320
        Palatine, IL 60055-0320


        JRJ Crossing, LLC
        1109 Wheaton Hill Court
        Saint Louis, MO 63131


        Just Drain It
        2924 Fortune Drive
        Granite City, IL 62040


        K-Tec
        1206 South 1680 West
        Orem, UT 84058


        Kiefer Landscaping
        3110 South Banker
        Effingham, IL 62401


        Kimberly Matthews
        27 Church St.
        Birmingham, AL 35213


        Kimberly Matthews
        27 Church Street
        Birmingham, AL 35213


        King Enterprises, Inc.



        Kitchen Solutions, Inc.
        4437 Country Sunrise Road
        High Ridge, MO 63049


        Kool Technologies
        714 Bonded Parkway
        Streamwood, IL 60107
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        Lamar Companies
        P.O. Box 96030
        Baton Rouge, LA 70896


        Lanz Heating & Cooling, Inc.
        2718 Hundman Dr.
        Champaign, IL 61822


        Libby J. Davey
        5551 Terrace View Ct.
        Saint Louis, MO 63128


        Liberty Utilities
        PO Box 790311
        Saint Louis, MO 63179


        Lindy Advertising Service
        P.O. Box 464
        Jacksonville, IL 62651


        Long John Silver's Advertising
        P.O. Box 950106
        Louisville, KY 40295-0106


        Long John Silver's, Inc.
        9505 Williamsburg Plaza
        Louisville, KY 40222


        Long John Silver's, LLC
        P.O. Box 950111
        Louisville, KY 40295-0111


        Long John Silver's, LLC
        9505 Williamsburg Plaza
        Louisville, KY 40222


        Luke M. Spurlock
        319 S. Paul Ave.
        Bluford, IL 62814


        Macon County Collector
        141 S. Main St., Room 302
        Decatur, IL 62523
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        Madison County Treasurer
        Kurt Prenzler, CPA
        PO Box 849
        Edwardsville, IL 62025


        Madison Tel Co.
        21668 Double Arch Rd.
        PO Box 29
        Staunton, IL 62088


        Mann's Yard Service
        619 Belmont St.
        Mount Carmel, IL 62863


        Mansfield Power & Gas
        1025 Airport Parkway
        Gainesville, GA 30501


        Marion Chamber of Commerce
        P.O. Box 307
        2305 West Main
        Marion, IL 62959


        Marjorie E. Janes Trust B
        805 W. Church St., #4
        Champaign, IL 61820


        Marjorie E. Janes Trust B
        1044 Ashwood Trail
        Decatur, IL 62526


        Mark E. Hughes
        301 E. 8th St.
        West Frankfort, IL 62896


        Marmic Fire & Safety Co. Inc
        1014 S Wall Ave
        Joplin, MO 64801


        Mars Plumbing & Heating, Inc.
        P.O. Box 300
        129 E. Gallatin St.
        Vandalia, IL 62471
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        Martor USA
        1235 S. Kimps Court
        Unit 29
        Green Bay, WI 54313


        McClane Food Service, Inc.
        Attn: President
        2085 Midway Road
        Carrollton, TX 75006


        McLane Food Service, Inc.
        7188 Collection Center Dr.
        Chicago, IL 60693


        McVaigh Welding Service
        P.O. Box 875
        Mount Carmel, IL 62863


        Mediacom
        107 S. Henrietta
        Effingham, IL 62401


        Merz Heating & A/C, Inc.
        P.O. Box 1305
        509 S. Willow St.
        Effingham, IL 62401


        Mid America Advertising
        100 W. Hazel Dell Rd.
        Springfield, IL 62712


        Mid America Development
        904 Fournie Lane
        Collinsville, IL 62234


        Mid-America Advertising
        Midwest, Inc.
        100 E. Hazel Dell Rd.
        Springfield, IL 62712


        Mid-America Outdooor Advertising
        904 Fournie Lane
        Collinsville, IL 62234
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        Midwest Waste
        PO Box 1649
        Marion, IL 62959


        Mike Williams Plumbing Heating & AC
        2403 S. Grand Ave., E
        Springfield, IL 62703


        Morrison Electric, Inc.
        651 S. Webster St.
        Taylorville, IL 62568


        Movie Facts
        1870 Busse Hwy.
        Des Plaines, IL 60016


        Mt. Carmel Public Utility
        316 Market St.
        Mount Carmel, IL 62863


        Municipal Utlilities
        200 West Douglas
        Jacksonville, IL 62650


        NAC Advertising
        Lockbox 3585
        Reliable Parkway
        Chicago, IL 60686


        National A&W Franchise Assoc.
        1648 Mcgrathiana Parkway
        Suite 380
        Lexington, KY 40511


        Nature's Design
        1200 Bauer Road
        Troy, IL 62294


        NIcor Gas
        P.O. Box 5407
        Carol Stream, IL 60197-5407


        Nikos Ena, LLC
        13 Black Walnut
        Palos Park, IL 60464
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        Nowell's Heating & A/C
        601 E. Main St.
        Mount Olive, IL 62069


        NUCO2
        2800 SE Market Place
        Stuart, FL 34997


        O'Fallon Water & Sewer
        255 S. Lincoln Ave.
        O Fallon, IL 62269


        Office Products Center
        308 W. Noleman
        PO Box 950
        Centralia, IL 62801


        Park's Sewer Service, Inc.
        1850 W. Rock Springs Road
        Decatur, IL 62521


        Pasta Isles, Inc.



        Pepsi-Cola Co.
        P.O. Box 75948
        Chicago, IL 60675


        PepsiCo Sales, Inc.
        700 Anderson Hill Road
        Purchase, NY 10577


        Pipeworks, Inc.
        P.O. Box 3395
        Bloomington, IL 61702


        Pitney Bowes Global Financial Serv
        PO Box 371887
        Pittsburgh, PA 15250-7887


        Pitney Bowes Management Services
        P.O. Box 845801
        Tempe, AZ 85284-5801
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        Powernet Global Communications
        P.O. Box 740146
        Cincinnati, OH 45274-0146


        Primesource Food Service
        P.O. Box 671679
        Dallas, TX 75267-1679


        Puritan Springs Water
        1709 N. Kickapoo
        Lincoln, IL 62656


        Pyramid Elec Contractors, Inc.
        300 Monticello Place
        Fairview Heights, IL 62208


        Ramco Freezer Service & Sales
        P.O. Box 129
        Mansfield, IL 61854


        Ray's Plumbing & Sewer Service
        895 Taintor Road
        Springfield, IL 62702


        Rebecca Grothoff
        3115 Lime Ave
        Mount Vernon, IL 62864


        Restaurant Supply Chain Solutions
        Vice President of Distribution
        950 Breckenridge Ln., Suite 300
        Louisville, KY 40207


        RF Technologies
        PO Box 142
        Bethalto, IL 62010


        Roto-Rooter
        5672 Collection Center Dr.
        Chicago, IL 60693


        Saline County Chamber of Commerce
        2 E. Locust Street, Suite 200
        Harrisburg, IL 62946
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        Sanitation Service, Inc.
        P.O. Box 703
        Effingham, IL 62401


        Schoonover Sewer Service, Inc.
        P.O. Box 6027
        Champaign, IL 61826-6027


        Servus, Inc.
        4021-A Mannheim Road
        Jasper, IN 47546


        Sewage System Service
        P.O. Box 509 City Hall
        Lincoln, IL 62656


        SGAS Holdings, LLC
        2200 Pacific Coast Highway
        Suite 305
        Hermosa Beach, CA 90254


        SI Storage & Rentals
        99 E. Main
        West Frankfort, IL 62896


        Sid's Building Corporation
        c/o Frank Haas
        3289 Province Circle
        Mundelein, IL 60060


        Snagajob
        4851 Lake Brook Drive
        Glen Allen, VA 23060


        Sorling Northrup Attys
        1 N. Old State Capitol Plaza
        Suite 200
        Springfield, IL 62705


        St. Clair County Health Department
        19 Public Square, Suite 150
        Belleville, IL 62220
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        Surveillance
        4308 S. Rickett Ave., Suite A
        Peoria, IL 61607


        Terminix Processing Center
        P.O. Box 742592
        Cincinnati, OH 45274-2592


        Terry Lowery
        8725 E. Casey Pike Road
        Mount Vernon, IL 62864


        The Color Place
        3841 Business Park Drive
        Louisville, KY 40213


        Tim's Lawn Service Snow Removal
        540 S. Cherry St.
        Paxton, IL 60957


        Tri-R-Disposal
        P.O. Box 89
        Nokomis, IL 62075


        Trinsoft, LLC
        1025 Monarch St., #170
        Lexington, KY 40513


        Trugreen-Collinsville
        P.O. Box 9001501
        Louisville, KY 40290-1501


        Tylex, Inc.
        229 S. Bonner Ave.
        Tyler, TX 75702


        U.B. Klem Furniture Co., Inc.
        P.O. Box 146
        Saint Anthony, IN 47575


        U.S. Bancorp Equipment Finance, Inc
        P.O. Box 790448
        Saint Louis, MO 63179-0448
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        UFPC
        950 Breckenridge Ln., Suite 300
        Louisville, KY 40207


        UFPC Parts Connection
        NW 5848
        P.O. Box 1450
        Minneapolis, MN 55485-5848


        UFPC Smallwares Connection
        P.O. Box 73184
        Cleveland, OH 44193


        Unified Foodservice Purchasing
        P.O. Box 32033
        Louisville, KY 40232


        Urbana & Champaign
        P.O. Box 669
        Urbana, IL 61801


        Valassis
        19975 Victor Parkway
        Livonia, MI 48152


        Vanguard Energy Services
        Dept. 2071
        Tulsa, OK 74182


        Veolia ES Solid Waste Midwest
        P.O. Box 6484
        Urbana, IL 61801


        Verizon Wireless
        Attn: Bankruptcy Dept.
        1515 Woodfield Road
        Schaumburg, IL 60173


        Vermillion County Treasurer
        PO Box 730
        Danville, IL 61834


        Village of Rantoul
        333 S. Tanner
        Rantoul, IL 61866
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        Viviano Heating & A/C, Inc.
        201 W. Main St.
        Collinsville, IL 62234


        WC Media WC Outdoor Advertising
        P.O. Box 9444
        Oraville, IL 62971-9444


        Weeke Sales & Service, Inc.
        501 N. Front St.
        P.O. Box 53
        Okawville, IL 62271


        Wente Plumbing & Heating, Co.
        1700 S. Raney Street
        PO Box 447
        Effingham, IL 62401


        WF Water
        110 N. Jefferson
        West Frankfort, IL 62896


        WMCI/WWGO/WCBH
        Cromwell Group Inc. of IL
        209 Lake Land Blvd.
        Mattoon, IL 61938


        Wright's Heating & AC Service
        525 S. Gilbert
        Danville, IL 61832


        Yum! Brands
        Attn: LJS Accounts Receivable
        P.O. Box 35820
        Louisville, KY 40232


        Yum! Capital
        707 Travis St
        Houston, TX 77002-8059


        Zeschke Septic Cleaning
        2408 Greyhound Road
        Bloomington, IL 61704
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        Zimmerly & Co., Inc.
        P.O. Box 540907
        Dallas, TX 75354
